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                        IN THE UNITED STATES DISTRICT COURT
                       FOR THE EASTERN DISTRICT OF OKLAHOMA


UNITED STATES OF AMERICA,                        Plaintiff,


vs.                                              No. CR-23-1- RAW


AUSTIN ISAAC FURR,                               Defendant.

                         NOTICE OF INTENT TO PLEAD GUILTY

       Comes now the Defendant, AUSTIN ISAAC FURR, by and through his counsel, Warren

Gotcher of the law firm of GOTCHER AND BEAVER, and herewith gives notice of his intent to

plead guilty to the indictment on file herein.

       That counsel for Defendant is available to appear for a Plea Wednesday, October 11,

2023, after 1:30 p.m. or Thursday, October 12, 2023, after 10:30 a.m.

                                                         AUSTIN ISAAC FURR
                                                         DEFENDANT
                                                         GOTCHER AND BEAVER
                                                         323 E. Carl Albert Parkway, P.O. Box 160
                                                         McAlester, Oklahoma 74502
                                                         928-423-0412
                                                         ATTORNEYS FOR DEFENDANT
                                                         BY: s/Warren Gotcher
                                                                Warren Gotcher, OBA 3495
                                                         Warren@Gotcher-Beaver.com

                                 CERTIFICATE OF SERVICE

       I hereby certify that on this 11th day of October, 2023, I electronically transmitted the
       attached document to the Clerk of the Court using ECF System for filing. Based on the
       records currently on file, the Clerk of the Court will transmit a Notice of Electronic Filing
       to the following ECF registrants:


       Gregory Dwight Artis, Jr., AUSA
       Jordan W. Howanitz, AUSA


                                                         S/Warren Gotcher
                                                         WARREN GOTCHER

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